        Case 1:18-cv-10225-MLW Document 305 Filed 07/25/19 Page 1 of 10



                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 LILIAN PAHOLA CALDERON JIMENEZ
 and LUIS GORDILLO, et al.,

 Individually and on behalf of all others
                                                                No. 18-10225-MLW
 similarly situated,

                Plaintiff-Petitioners,

        v.                                                      PUBLIC VERSION

 KEVIN K. McALEENAN, et al.,

                Defendants-Respondents.


    MEMORANDUM IN SUPPORT OF MOTION FOR ORDER TO SHOW CAUSE

       A recent detention report on class members has revealed that Respondents have engaged

in continuing violations of the Post Order Custody Review (“POCR”) Regulations. Petitioners

therefore seek an order requiring Respondents to show cause why the Court should not order the

release of the impacted individuals—including



                         . Because several of these individuals face imminent removal, and

because Respondents have not agreed to forgo that removal while this issue is before the Court

(Ex. S (July 25, 2019 Email from Larakers to Sewall)), Petitioners also respectfully request that

the Court preserve its jurisdiction over these individuals by requiring them to be released or kept

in the jurisdiction pending this Court’s examination of the issues raised.

                                         BACKGROUND

       On May 8, 2018, this Court recognized that ICE violated the POCR regulations (8 C.F.R.

§ 241.4) with respect to Lucimar de Souza and Eduardo Junqueira. Hearing Tr. (May 8, 2018) at


                                                 1
Case 1:18-cv-10225-MLW Document 305 Filed 07/25/19 Page 2 of 10
Case 1:18-cv-10225-MLW Document 305 Filed 07/25/19 Page 3 of 10
Case 1:18-cv-10225-MLW Document 305 Filed 07/25/19 Page 4 of 10
Case 1:18-cv-10225-MLW Document 305 Filed 07/25/19 Page 5 of 10
        Case 1:18-cv-10225-MLW Document 305 Filed 07/25/19 Page 6 of 10




                                                                                                   ).

By conducting the review and issuing the detention decision before the date on which the review

was scheduled, ICE has impaired these individuals’ ability to submit documents in support of

their release and has thus undermined the very purpose of the notice.

       C.      Late custody reviews violate the regulations.

       Within 90 days of a detained person receiving a final order of removal, or within 90 days

of detaining a person with a final order of removal (who is outside the “removal period”

described in 8 U.S.C. § 1231(a)(1)(A)), ICE must review that person’s custody. 8 C.F.R.

§ 241.4(a), (k)(1)(i); Dkt. No. 95 at 4-5. If the person is not released, jurisdiction over custody

determinations transfers to ICE headquarters to conduct a second review. Id. § 241.4(k)(2)(ii).

This second review “will ordinarily be conducted at the expiration of the three-month period

after the 90-day review or as soon thereafter as practicable.” Id. It can also be postponed “for

good cause,” and “the reasons for the delay shall be documented in the alien’s custody review

file.” Id. § 241.4(k)(3). Thus, compliance with these regulations would ordinarily result in

second custody reviews occurring within approximately 180 days. Under 8 C.F.R. § 241.4(k)(3),

ICE can delay custody review “if such detainee’s prompt removal is practicable and proper”;

however, “[r]easonable care will be exercised to ensure that the alien’s case is reviewed … if the

alien is not removed from the United States as anticipated at the time review was suspended or

postponed.” Id.

       At least one listed individual,           , did not receive a timely 90-day review.

      was detained on                              and his custody review was noticed for



                                                  6
Case 1:18-cv-10225-MLW Document 305 Filed 07/25/19 Page 7 of 10
        Case 1:18-cv-10225-MLW Document 305 Filed 07/25/19 Page 8 of 10



Court. Ex. S. Petitioners therefore request that the Court bar ICE from removing them or

otherwise ordering them to leave the United States pending further order.

                                         CONCLUSION

       ICE has systematically violated the POCR regulations, including by improperly

anticipating or delaying reviews for at least seven of the thirteen currently detained class

members. This is a small fraction of Boston ERO’s detained docket, and these violations are

occurring “in cases that ICE knew would be subject to scrutiny by a federal judge.” Dkt. No. 95

at 11; see also Ex. C (Charles Dep. Tr.) at 320




                                       ). Without Court intervention, they will persist. Each day

of wrongful detention presents irreparable harm to these individuals and their U.S. citizen

families. Dkt. No. 95 at 10.

       Accordingly, Petitioners respectfully request that this Court enter an order directing

Respondents to show cause why the detained individuals—particularly



                                                         —should not be released from custody.




                                                  8
       Case 1:18-cv-10225-MLW Document 305 Filed 07/25/19 Page 9 of 10



Respectfully submitted this 25th day of July, 2019.



                                                    /s/ Kevin S. Prussia

Matthew R. Segal (BBO # 654489)                     Kevin S. Prussia (BBO # 666813)
Adriana Lafaille (BBO # 680210)                     Michaela P. Sewall (BBO # 683182)
AMERICAN CIVIL LIBERTIES UNION                      Shirley X. Li Cantin (BBO # 675377)
FOUNDATION OF MASSACHUSETTS, INC.                   Jonathan Cox (BBO # 687810)
211 Congress Street                                 Colleen M. McCullough (BBO # 696455)
Boston, MA 02110                                    Matthew W. Costello (BBO # 696384)
(617) 482-3170                                      WILMER CUTLER PICKERING
                                                      HALE AND DORR LLP
Kathleen M. Gillespie (BBO # 661315)                60 State Street
Attorney at Law                                     Boston, MA 02109
6 White Pine Lane                                   Telephone: (617) 526-6000
Lexington, MA 02421                                 Facsimile: (617) 526-5000
(339) 970-9283                                      kevin.prussia@wilmerhale.com
                                                    michaela.sewall@wilmerhale.com
                                                    shirley.cantin@wilmerhale.com
                                                    jonathan.cox@wilmerhale.com
                                                    colleen.mccullough@wilmerhale.com
                                                    matthew.costello@wilmerhale.com

                                                    Attorneys for Petitioners




                                                9
       Case 1:18-cv-10225-MLW Document 305 Filed 07/25/19 Page 10 of 10



            CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

       I certify that, in accordance with Local Rule 7.1(a)(2), counsel for Petitioners conferred

with counsel for Respondents on July 25, 2019 in an attempt to resolve the issues raised in this

motion. The parties were unable to reach a resolution.

                                                     /s/ Michaela P. Sewall
                                                     Michaela P. Sewall


                                CERTIFICATE OF SERVICE

       I hereby certify that on July 25, 2019, a true copy of the foregoing will be electronically

filed with the Clerk of Court using the CM/ECF system, which will then send a notification of

such filing (NEF).

                                                     /s/ Kevin S. Prussia
                                                     Kevin S. Prussia




                                                10
